   Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 1 of 54 PageID #:591




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FRANK CARBONE, ANDREW CORZO,                         Case No. 1:22-cv-00125
SAVANNAH ROSE EKLUND, SIA HENRY,
ALEXANDER LEO-GUERRA, MICHAEL
MAERLANDER, BRANDON PIYEVSKY, KARA
SAFFRIN, and BRITTANY TATIANA WEAVER,                Judge Matthew F. Kennelly
individually and on behalf of all others similarly
situated,                                            Magistrate Gabriel A. Fuentes
                              Plaintiffs,

       v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,
                      Defendants.



      MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
      Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 2 of 54 PageID #:592




                                                    TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................3
          A.         Need-Based Financial Aid And The Consensus Methodology ...............................3
          B.         The Origins And Repeated Renewals Of Section 568 .............................................5
          C.         Plaintiffs’ Antitrust Claim........................................................................................8
ARGUMENT ...................................................................................................................................8
I.        The Alleged Conduct Is Exempt From Antitrust Scrutiny ..................................................8
          A.         Plaintiffs Rely On A Legally Deficient Reading Of The Term “Need-
                     Blind” .......................................................................................................................9
                     1.         Admissions Decisions That Do Not Disfavor Applicants Because
                                They Need Financial Aid Are “Need-Blind” Under Section 568 ..............10
                     2.         Plaintiffs’ Contrary Reading Has No Contextual Support And
                                Would Impede Congress’s Clear Objectives .............................................12
                     3.         Plaintiffs’ Allegations As To Purported Donor Preferences At
                                Duke, Brown, MIT, And Georgetown Are Insufficient To Deprive
                                These Schools Of Section 568’s Protections .............................................14
          B.         Plaintiffs’ Other Allegations As To Purported Non-Need-Blind Practices
                     Are Conclusory And Implausible ..........................................................................15
                     1.         Plaintiffs’ Contrived Definition Of “Enrollment Management”
                                Fails To Plausibly Allege That Any Defendant Is Not Need-Blind ..........16
                     2.         Plaintiffs Fail To Plausibly Allege That Any Defendant Is Not
                                Need-Blind As To Transfer Or Waitlisted Applicants ..............................17
                     3.         Plaintiffs Fail To Plausibly Allege That Admissions To
                                Columbia’s School of General Studies Are Not Need-Blind ....................19
          C.         The Section 568 Exemption Protects Need-Blind Schools That Lack
                     Actual Knowledge That Any Other Participating School Is Not Need-
                     Blind.......................................................................................................................20
II.       Plaintiffs Have Not Plausibly Alleged An Antitrust Violation ..........................................22
          A.         Plaintiffs Have Not Alleged A Plausible Per Se Violation....................................23
                     1.         Congress And The Third Circuit Have Found That Similar
                                Conduct Is Not Obviously Anticompetitive ..............................................23
                     2.         The Consensus Methodology Does Not Have Obvious
                                Anticompetitive Effects Justifying Per Se Condemnation ........................25
                     3.         The Consensus Methodology Has Credible Procompetitive
                                Benefits That Per Se Condemnation Would Ignore ..................................28


                                                                       -i-
       Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 3 of 54 PageID #:593




          B.         The Amended Complaint Fails To State A Claim Under The Rule Of
                     Reason Because Plaintiffs Have Not Pleaded A Plausible Relevant Market ........29
III.      Plaintiffs Fail To Plausibly Allege Antitrust Injury And Antitrust Standing ....................35
IV.       The Statute Of Limitations Bars The Claims Of Seven Of The Nine Plaintiffs ................37
CONCLUSION ..............................................................................................................................39




                                                                    ii
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 4 of 54 PageID #:594




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

1-800 Contacts, Inc. v. FTC,
   1 F.4th 102 (2d Cir. 2021) .......................................................................................................29

42nd Parallel North v. E Street Denim Co.,
   286 F.3d 401 (7th Cir. 2002) ...................................................................................................33

Abramski v. United States,
   573 U.S. 169 (2014) ...........................................................................................................10, 21

Allied Tube & Conduit Corp. v. Indian Head, Inc.,
    486 U.S. 492 (1988) .................................................................................................................27

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  190 F.3d 1051 (9th Cir. 1999) .................................................................................................36

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   459 U.S. 519 (1983) .................................................................................................................36

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    550 U.S. 544 (2007) .......................................................................................................9, 15, 17

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   549 F.3d 685 (7th Cir. 2008) (en banc) ...................................................................................22

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   572 U.S. 844 (2014) .....................................................................................................10, 12, 13

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   441 U.S. 1 (1979) ............................................................................................................... 23-24

Bunker Ramo Corp. v. United Business Forms, Inc.,
   713 F.2d 1272 (7th Cir. 1983) .................................................................................................24

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   526 U.S. 756 (1999) .................................................................................................................26

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   515 F.3d 883 (9th Cir. 2008) ...................................................................................................22

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   893 F.3d 498 (7th Cir. 2018) .............................................................................................22, 29




                                                                    iii
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 5 of 54 PageID #:595




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   748 F. App’x 716 (8th Cir. 2019) ............................................................................................18

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   2014 WL 545511 (N.D. Ind. Feb. 11, 2014)...................................................................... 14-15

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   476 U.S. 447 (1986) .................................................................................................................28

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   568 U.S. 442 (2013) .................................................................................................................37

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   726 F.3d 42 (2d Cir. 2013).......................................................................................................22

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   998 F.2d 391 (7th Cir. 1993) ...................................................................................................35

Grutter v. Bollinger,
   539 U.S. 306 (2003) .................................................................................................................13

Heard v. Becton, Dickinson & Co.,
   440 F. Supp. 3d 960 (N.D. Ill. 2020) .......................................................................................18

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    1999 WL 33889 (N.D. Ill. Jan. 19, 1999) ................................................................................21

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    436 F.3d 782 (7th Cir. 2006) ...................................................................................................37

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    2013 WL 4506000 (N.D. Ill. Aug. 23, 2013) ..........................................................................35

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    465 F. Supp. 3d 811 (N.D. Ill. 2020) .................................................................................29, 35

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    126 F. Supp. 2d 1248 (N.D. Cal. 2000) ............................................................................. 20-21

In re Sulfuric Acid Antitrust Litigation,
    703 F.3d 1004 (7th Cir. 2012) .....................................................................................23, 28, 37

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    546 F.3d 477 (7th Cir. 2008) ...................................................................................................13

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   521 U.S. 179 (1997) ...........................................................................................................38, 39




                                                                   iv
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 6 of 54 PageID #:596




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   306 F.3d 469 (7th Cir. 2002) ...................................................................................................36

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  2021 WL 1123808 (N.D. Ind. Mar. 24, 2021) .........................................................................18

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  952 F.3d 832 (7th Cir. 2020) ...................................................................................................21

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  386 F. Supp. 3d 926 (N.D. Ill. 2019) .......................................................................................33

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  937 F.3d 1056 (7th Cir. 2019) .................................................................................................35

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   675 F.2d 881 (7th Cir. 1982) ...............................................................................................9, 21

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   273 F. Supp. 3d 986 (N.D. Ill. 2017) .......................................................................................30

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   138 S. Ct. 2274 (2018) .................................................................................................28, 29, 30

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                                                                    v
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 7 of 54 PageID #:597




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    325 F.3d 874 (7th Cir. 2003) ...................................................................................................38

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   547 U.S. 1 (2006) .....................................................................................................................23

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   682 F. Supp. 2d 845 (N.D. Ill. 2009) .......................................................................................37

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   371 F.3d 1011 (8th Cir. 2004) .................................................................................................39

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                                                                      vi
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 8 of 54 PageID #:598




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   science-overall .........................................................................................................................34

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                                                                     vii
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 9 of 54 PageID #:599




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                                                                     viii
   Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 10 of 54 PageID #:600




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   programs ..................................................................................................................................34
YALE COLL., https://yalecollege.yale.edu/academics ....................................................................31




                                                                      ix
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 11 of 54 PageID #:601




                                        INTRODUCTION

       Congress long ago recognized that students benefit when colleges and universities

collaborate on standards for assessing need for financial aid. Such collaboration improves the

accuracy of need determinations and promotes the fair and efficient allocation of aid, which in turn

makes higher education more accessible. Congress actively encourages this collaboration through

a statutory antitrust exemption for agreements among schools to develop “common principles of

analysis” for financial aid. See 15 U.S.C. § 1 note; Pub. L. No. 103-382, title V, § 568, 108 Stat.

3518, 4060 (1994). The exemption ensures that schools engaged in this collaboration do not face

the threat and expense of antitrust litigation, which might otherwise deter the conduct Congress

sought to encourage. Over the last three decades, Congress has repeatedly reauthorized and

extended the “Section 568” exemption, recognizing that it often results in increased amounts of

need-based aid for students and does not adversely affect the affordability of higher education.

       Starting in the early 2000s, and consistent with the exemption, the 568 Presidents Group

has developed a “Consensus Methodology” of voluntary general recommendations for assessing

student need. This methodology does not operate in a vacuum. Rather, it builds on other common

methodologies used by the federal government and colleges and universities throughout the

country. The 568 Group pools its members’ expertise to develop additional thoughtful and data-

driven responses to nuanced questions about need that those other methodologies do not answer.

Members regularly certify that they meet the prerequisite for the statutory exemption: they admit

students “on a need-blind basis.” See 15 U.S.C. § 1 note.

       Now, nearly two decades after the Consensus Methodology was developed, Plaintiffs have

sued 17 private, non-profit universities that are a subset of the institutions that have been members

of the 568 Group at some point over the past 15 years. Plaintiffs allege that Defendants are not




                                                 -1-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 12 of 54 PageID #:602




exempt under Section 568 because certain of their undergraduate admissions decisions do not

satisfy Plaintiffs’ overbroad and counterfactual interpretation of “need-blind,” claim that the

Consensus Methodology violates Section 1 of the Sherman Act, and assert vague and speculative

injuries dating back to 2003. Plaintiffs’ claim must be dismissed for the following reasons:

       First, Section 568 exempts the challenged collaboration from the antitrust laws. Plaintiffs’

argument to the contrary rests on a misreading of the exemption’s need-blind requirement. Under

Plaintiffs’ reading, admissions decisions are not “need-blind” if they involve any consideration of

any financial circumstances, regardless of whether or how the circumstances relate to need for

financial aid. That interpretation ignores the common understanding of the term “need-blind” and

disregards the statute’s structure, history, and purpose. These factors make clear that considering

financial circumstances in admissions decisions implicates Section 568 only if it disfavors

particular applicants because they need financial aid. Plaintiffs also fail to allege the facts their

theory requires. For nearly half of Defendants, Plaintiffs make no specific factual allegations about

non-need-blind admissions. For the rest, Plaintiffs offer only general and conclusory allegations,

often refuted by their own cited sources. Moreover, Plaintiffs are wrong that need-blind schools

lose the exemption if, unbeknownst to them, another member of the Group was not need-blind.

       Second, Plaintiffs fail to plausibly allege a violation of the Sherman Act. Their contention

that the Consensus Methodology is anticompetitive per se is untenable. Congress has repeatedly

recognized the Methodology’s procompetitive benefits, and the only court of appeals to have

considered the legality of collaborations among institutions of higher education relating to

financial aid has flatly rejected per se treatment. See United States v. Brown Univ., 5 F.3d 658,

661 (3d Cir. 1993). Plaintiffs’ claim fails under a “rule-of-reason” analysis because they have not

plausibly pleaded that Defendants have actionable market power in any properly defined market.



                                                 -2-
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 13 of 54 PageID #:603




Their claimed product market—private national universities with an average U.S. News & World

Report ranking of 25 or higher from 2003 through 2021—is nonsensical. It is cherry-picked from

a magazine’s rankings that say nothing about competition, and it implausibly disregards all public

universities, all liberal arts colleges, and private universities that fall below the arbitrary top-25

ranking. Many of these schools obviously compete with Defendants for student enrollment.

        Third, Plaintiffs’ alleged injuries are too speculative to satisfy antitrust injury and standing

requirements. Plaintiffs allege few facts about their own financial circumstances and the aid they

received, and no facts at all about the effect the Consensus Methodology had on their individual

awards. Plaintiffs thus simply speculate that they would have received more grant-based aid but

for the Consensus Methodology. Their speculation is insufficient as a matter of law.

        Finally, the claims of the seven Plaintiffs who matriculated before January 2018 all plainly

accrued outside the Sherman Act’s four-year limitations period, and no tolling doctrine applies.

At a minimum, those claims are time-barred on their face and should be dismissed.

        Plaintiffs’ claim rests on a series of legal errors and conclusory, implausible allegations.

With so many fatal flaws, another amendment would be futile. Dismissal should be with prejudice.

                                           BACKGROUND

        A.      Need-Based Financial Aid And The Consensus Methodology

        Many non-profit institutions of higher education help students by providing financial aid

in the form of work-study programs, loans that must be repaid, or scholarships and grants based

on applicants’ need or merit. See GAO Report at 7 & n.6.1 While loans and work-study help



1
 U.S. Gov’t Accountability Off., GAO-06-963, Higher Education: Schools’ Use of the Antitrust Exemption
Has Not Significantly Affected College Affordability or Likelihood of Student Enrollment to Date (Sept.
2006), https://www.gao.gov/assets/gao-06-963.pdf (“GAO Report”). Courts “may take judicial notice of
public records not attached to the complaint in ruling on a motion to dismiss under Rule 12(b)(6).” Olson
v. Champaign Cty., 784 F.3d 1093, 1097 n.1 (7th Cir. 2015). All websites were last visited April 15, 2022.
                                                   -3-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 14 of 54 PageID #:604




students afford the cost of attendance, they do not affect the “net price,” which is the “gross tuition

plus fees for room and board, less institutional grant aid.” Am. Compl. ¶ 5.

          Providing need-based aid naturally requires first determining how much aid a student

needs, which is derived from a calculation of how much she is expected to contribute. Colleges

and universities have multiple resources available to help them make those determinations. The

“Federal Methodology” is outlined by statute and governs federally funded aid, see Pub. L. No.

102-325, 106 Stat. 448 (1992), although some institutions use it to inform their own institutional

aid, GAO Report at 8. College Board, a not-for-profit association whose membership includes

numerous leading educational institutions, developed the “Institutional Methodology,” a set of

recommendations for calculating financial aid provided by the college or university. Id. at 8 &

n.7.2 The “Consensus Methodology” is a further resource that schools can consider.

          The Consensus Methodology was developed by the 568 Presidents Group, an affiliation of

colleges and universities formed in 1998. See Am. Compl. ¶¶ 5, 96, 114. It builds on the

Institutional Methodology by offering additional voluntary recommendations for less common

financial profiles, such as “expected contributions from non-custodial parents, treatment of

depreciation expenses which may reduce apparent income, valuation of rental properties, and

unusually high medical expenses.” H.R. Rep. No. 107-32, at 3 (2001). As Congress has

recognized, this “common set of principles … is not binding on those that participate, nor are there

prescribed financial aid amounts that are predetermined. Indeed, universities using the [Consensus

Methodology] offer different, and competitive, financial aid packages to the same student.” H.R.

Rep. No. 114-224, at 3 (2015). Further, the Consensus Methodology “does not address issues




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    See also Institutional Methodology, https://professionals.collegeboard.org/higher-ed/financial-aid/im.
                                                      -4-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 15 of 54 PageID #:605




associated with the mix of grant, loan, and work components of financial aid awards,” or “non-

need based aid, often called merit awards, whether academic or athletic.” 3

          B.     The Origins And Repeated Renewals Of Section 568

          The 568 Group is named after Section 568 of the Improving America’s Schools Act of

1994. See 15 U.S.C. § 1 note. Section 568 is a statutory exemption from the antitrust laws. It

authorizes “2 or more institutions of higher education at which all students admitted are admitted

on a need-blind basis, to agree or attempt to agree,” among other things, “to use common principles

of analysis for determining the need of such students for financial aid,” as long as the agreement

“does not restrict financial aid officers at such institutions in their exercising independent

professional judgment with respect to individual applicants for such financial aid.” Id. Section

568 defines “on a need-blind basis” to mean “without regard to the financial circumstances of the

student involved or the student’s family.” Id.

          Section 568 was Congress’s response to litigation challenging the so-called “Overlap”

agreement. See H.R. Rep. No. 105-144, at 2-3 (1997). There, certain schools agreed to award

financial aid based solely on financial need, to calculate need using the same formula, and to agree

on virtually identical need-based aid packages for individual students at “an annual ‘Ivy Overlap’

meeting.” United States v. Brown Univ., 805 F. Supp. 288, 293 (E.D. Pa. 1992), rev’d, 5 F.3d 658

(3d Cir. 1993). The Department of Justice filed suit under the Sherman Act, and the district court

found antitrust violations under a “quick look” analysis. See 5 F.3d at 664-65. The Third Circuit

reversed. It held that “a full scale rule of reason analysis” was necessary given the procompetitive

benefits of the agreement, including that it plausibly “improved the quality of the education offered

by the schools and therefore enhanced the consumer appeal of an Overlap education.” Id. at 674,



3
    Consensus Methodology, https://www.568group.org/home/?q=node/15.
                                                 -5-
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 16 of 54 PageID #:606




679. On remand, the government settled with MIT (the only school that chose to defend the case),

creating the “MIT Standards of Conduct”—a “safe harbor agreement” whereby “schools operating

within the Standards of Conduct will not be challenged by the DOJ.” MIT Standards of Conduct

at n.1.4 Those standards precluded agreements about individual expected contributions or aid

awards, id. §§ 8-9, but permitted schools to “jointly discuss and agree on principles of need

analysis,” provided that they “practice need-blind admissions,” id. §§ 1(a), 3.

        Seeking to preserve the benefits of this type of collaboration, Congress passed a temporary

antitrust exemption in 1992, protecting schools that “discuss[ed] and voluntarily adopt[ed] defined

principles of professional judgment for determining student financial need for aid.” Pub. L. No.

102-325 § 1544, 106 Stat. 448, 837 (1992). Section 568 followed two years later. See Pub. L. No.

103-382, 108 Stat. 3518 (1994). It protected additional types of financial aid agreements and

added the need-blind provision, all of which were “based on language in the ‘standards of conduct’

adopted in the MIT settlement.” H.R. Conf. Rep. No. 103-761, at 911 (1994).

        Congress also included a sunset provision, explaining that, “[u]pon the expiration of this

extension, those who support extending the exemption must meet the burden of demonstrating that

it is truly needed in order to enhance the generally pro-competitive goal of enhancing access by

needy students to higher education.” Id. at 912. Congress went on to extend Section 568 four

times, in 1997, 2001, 2008, and 2015.5 With each extension, Congress reaffirmed that this

beneficial collaboration should not be deterred by the threat of antitrust suit. “The use of common

principles for determining need increases the sophistication of the analysis and helps the schools

to determine need more accurately in cases of unusual financial profiles. That … leads to a fairer



4
 See https://www.568group.org/home/sites/default/files/mitsoc.pdf (quoted in Am. Compl. ¶ 187).
5
 See Pub. L. No. 105-43, 111 Stat. 1140 (1997); Pub. L. No. 107-72, 115 Stat. 648 (2001); Pub. L. No.
110-327, 122 Stat. 3566 (2008); Pub. L. No. 114-44, 129 Stat. 472 (2015).
                                                 -6-
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 17 of 54 PageID #:607




distribution of need-based aid.” H.R. Rep. No. 105-144, at 3. In the words of a sponsor of the

most recent renewal, Section 568 “allows colleges and universities to continue working together,

free from the threat of antitrust litigation,”6 and “prevents needless and costly litigation … and

increases access to higher education, without causing harm to competition.” 7

        In 2001, Congress commissioned the Government Accountability Office to analyze the

exemption’s effect on competition. See Pub. L. No. 107-72, 115 Stat. 648. The GAO Report,

released in 2006, found that the “consensus approach resulted in higher amounts of need-based

grant aid awarded to some student groups” and that “grant aid awards shifted from non-need-based

aid … to aid based on a student’s financial need.” GAO Report at 1. The GAO further found that

the Consensus Methodology “modified elements already in the College Board’s institutional

methodology,” including by reducing the impact of home equity; expecting students to contribute

less of their individual assets; considering relatively higher costs of living by location; excluding

income that was not received on an annual basis, such as unemployment income; and including

allowances for debt payments on other school loans. Id. at 12-13. Notably, “students accepted to

schools using the exemption and comparable schools not using the exemption experienced similar

variation in the amount they were expected to pay,” in part because “[n]ot all schools using the

consensus approach chose to adopt all the elements of the methodology,” and some in the 568

Group were not “using the consensus approach” at all. Id. at 1. As Congress summarized in

renewing Section 568 in 2015, the GAO Report confirmed “that the antitrust exemption did not

adversely impact the affordability of colleges and universities.” H.R. Rep. No. 114-224, at 3.




6
  Press Release, Sen. Chuck Grassley (July 28, 2015), https://www.grassley.senate.gov/news/news-
releases/congress-passes-bill-allowing-universities-collaborate-financial-aid-best.
7
  Press Release, Rep. Hank Johnson (June 2, 2015), https://hankjohnson.house.gov/media-center/press-
releases/legislation-introduced-senate-house-allow-universities-collaborate-best (quoting Sen. Grassley).
                                                  -7-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 18 of 54 PageID #:608




         C.     Plaintiffs’ Antitrust Claim

         Plaintiffs concede, as they must, that the Consensus Methodology provides a set of

“common principles of analysis for determining the need of … students for financial aid,” which

is covered by Section 568. See 15 U.S.C. § 1 note. They nonetheless attack the Consensus

Methodology based on the unsubstantiated premise that Defendants are not “need-blind” as the

exemption requires. Am. Compl. ¶ 3. Plaintiffs contend that the Consensus Methodology is “per

se anticompetitive” or, alternatively, unlawful under the rule of reason in their supposed “Market

for Elite, Private Universities.” Id. ¶¶ 240-42. Plaintiffs do not allege that Defendants agreed on

overall tuition or the amount of financial aid offered collectively or to any individual student. Nor

do they allege that members made any agreement as to the form of need-based aid packages (i.e.,

grants, loans, work-study), or the availability, form, or amount of merit awards. In addition,

Plaintiffs do not allege how those Defendants that use all or part of the Consensus Methodology

would otherwise calculate need, much less any facts suggesting that the Consensus Methodology’s

recommendations led to higher expected family out-of-pocket contributions or decreased

institutional grants for students generally or Plaintiffs in particular.

                                            ARGUMENT

I.       The Alleged Conduct Is Exempt From Antitrust Scrutiny

         Plaintiffs’ claim fails at the outset because the collaboration they challenge is exempt from

the antitrust laws. Plaintiffs’ assertion that Defendants have lost Section 568’s protection rests on

(A) a legally deficient interpretation of the term “need-blind”; (B) implausible and conclusory

allegations as to purported non-need-blind practices, often contradicted by sources referenced in

the complaint; and (C) the faulty argument that every school somehow loses Section 568’s

protection if any school in the Group has non-need-blind practices.



                                                  -8-
    Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 19 of 54 PageID #:609




        Contrary to Plaintiffs’ suggestion, see Am. Compl. ¶ 267, they must plausibly allege the

exemption’s inapplicability. See Mid-Am. Reg’l Bargaining Ass’n v. Will Cty. Carpenters Dist.

Council, 675 F.2d 881, 886 (7th Cir. 1982) (construing statutory labor exemption); USS-POSCO

Indus. v. Contra Costa Cty. Bldg. & Constr. Trades Council, AFL-CIO, 31 F.3d 800, 805 n.3 (9th

Cir. 1994) (same). Section 568, which is appended to Section 1 of the Sherman Act itself, provides

that agreements to “use common principles of analysis for determining the need of … students for

financial aid” are “not … unlawful under the antitrust laws” when participating schools admit

students “on a need-blind basis.” 15 U.S.C. § 1 note. Plausible, specific allegations of non-need-

blind admissions are thus essential to Plaintiffs’ affirmative case. As an initial matter, for seven

Defendants—Caltech, Chicago, Cornell, Emory, Johns Hopkins, Rice, and Yale—the complaint

includes no specific factual allegations of any non-need-blind admissions. That alone is sufficient

to dismiss the allegations against these schools. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). The allegations regarding the remaining Defendants are implausible and conclusory and

therefore also insufficient as a matter of law. 8

        A.      Plaintiffs Rely On A Legally Deficient Reading Of The Term “Need-Blind”

        For a school to qualify as “need-blind” under Section 568, its admissions personnel cannot

disfavor applicants because they need financial aid.             The statutory definition clarifies that

admissions officers cannot disfavor applicants who need financial aid either by looking to their

financial aid applications or by using “the financial circumstances of the student involved or the

student’s family” as a proxy for whether the student will need financial aid. 15 U.S.C. § 1 note.

Resisting this straightforward interpretation, Plaintiffs contend that schools are not need-blind if



8
 While the exemption applies, it is unnecessary here because Plaintiffs fail to plead a plausible market and
because, as Congress and the GAO recognized, see supra 4, 7, the Consensus Methodology is not binding
and not all Group members adopted it. Plaintiffs fail to plead facts establishing otherwise. See infra Pt. II.
                                                     -9-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 20 of 54 PageID #:610




they consider any aspect of applicants’ financial circumstances, even for reasons entirely unrelated

to applicants’ need for financial aid. Plaintiffs thus object to purported preferences for applicants

because of their ties to potential donors, a wholly separate issue from their need for financial aid.

See, e.g., Am. Compl. ¶¶ 134, 163-67. Untethering need-blindness from the need for financial aid

is contrary to the common meaning of the term and to the statutory history and context, and it

would have perverse results neither intended by Congress nor required by the statutory language.

                 1.      Admissions Decisions That Do Not Disfavor Applicants Because They
                         Need Financial Aid Are “Need-Blind” Under Section 568

          The “ordinary meaning of a defined term” is key evidence of the term’s statutory meaning.

See Bond v. United States, 572 U.S. 844, 861 (2014). “Need-blind” has a well-established ordinary

meaning: A school is “blind” to an applicant’s “need” when it does not disfavor the applicant

because she needs financial aid. As numerous admissions offices explain, “need-blind” means

“there is no disadvantage in the admission process for financial aid applicants,” 9 and “ability to

pay is not a barrier to admission.”10 See also Am. Compl. ¶¶ 202-07 (quoting certain Defendants’

websites using the term the same way). The “need” in “need-blind” is the need for financial aid.

          Moreover, Section 568 must be construed “not in a vacuum, but with reference to the

statutory context, ‘structure, history, and purpose.’” Abramski v. United States, 573 U.S. 169, 179

(2014). Every agreement in Section 568 involves need-based financial aid. It permits agreements

to award only need-based financial aid, to use common principles to determine need for aid, and

to employ common aid applications. See 15 U.S.C. § 1 note. The agreements to which Section

568 expressly does not apply also deal strictly with need-based aid. Id. Section 568 is concerned

with need-based financial aid—a fact that must inform the Court’s reading of “need-blind.”



9
    Cost & Aid, PRINCETON UNIV., https://admission.princeton.edu/cost-aid.
10
    Office of Student Aid, BOWDOIN COLL., https://www.bowdoin.edu/student-aid/.
                                                  -10-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 21 of 54 PageID #:611




       The legislative history confirms that “need-blind” in Section 568 carries its ordinary

meaning. The 1994 Committee Report provided guidance to “schools wishing to make use of this

provision.” H.R. Conf. Rep. No. 103-761, at 912. That report did not advise schools to avoid

considering applicants’ economic background at all. Rather, it advised admissions personnel to

avoid “information relating to a student’s financial circumstances that is derived from such

student’s financial aid application form, or from any other document or record obtained for the

purpose of ascertaining such financial circumstances.” Id. (emphases added). The report also

advised schools to “insulate their admissions process … from such student financial aid

information, until after the admissions process is complete.” Id. (emphasis added). These

“financial circumstances” in the report describing the statutory definition are perforce the same

“financial circumstances” in the definition itself—that the applicant may need financial aid.

       Furthermore, Section 568 was a product of the Overlap litigation, and the admissions

policies of the schools involved there were “need-blind” in the ordinary sense. See Yates v. United

States, 574 U.S. 528, 535-36 (2015) (construing statute in light of events giving rise to its passage).

One goal of the Overlap agreement was to preserve school resources to help students who required

need-based aid. See Brown, 5 F.3d at 674-75. That was particularly important because almost all

participating schools adopted a “need-blind admissions system under which all admission

decisions are based entirely on merit without consideration of an applicant’s ability to pay tuition.”

Id. at 661 (emphasis added). MIT’s need-blind policy was central to its defense. See, e.g., Brown,

805 F. Supp. at 306 (MIT “relentlessly emphasized, at each stage of this case, the benefits fostered

by the policies of need-blind admissions”).         Everyone involved in the Overlap litigation

consistently described this admissions policy—that need for financial aid would not harm

applicants’ chances of admission—as “need-blind.” This understanding of the term carried



                                                 -11-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 22 of 54 PageID #:612




through to the MIT Standards of Conduct and shortly thereafter to Section 568. The MIT

Standards of Conduct required that schools entering into covered financial aid agreements

“practice need-blind admissions.” MIT Standards of Conduct § 1(a). Congress, in turn, “based”

the definition of “need-blind” in Section 568 “on language in the ‘standards of conduct’ adopted

in the MIT settlement.” H.R. Conf. Rep. No. 103-761, at 911.

       Neither Congress nor those involved in the Overlap litigation and DOJ safe harbor

agreement ever used “need-blind” to describe admissions decisions that ignored applicants’ entire

economic background. To the contrary, the only financial circumstance ever referenced was the

need for financial aid. See, e.g., GAO Report at 1 (the exemption “can only be used by schools

that admit students without regard to ability to pay”); 154 Cong. Rec. H2922, H2923 (daily ed.

Apr. 30, 2008) (Statement of Rep. Delahunt) (explaining that renewal of Section 568 would

“extend the current antitrust exemption for colleges and universities that admit all students on a

need-blind basis, without regard to a student’s ability to pay”). This historical context confirms

that Section 568 simply requires schools to follow MIT’s approach from the Overlap litigation by

making admissions decisions without disfavoring applicants because they need financial aid.

               2.     Plaintiffs’ Contrary Reading Has No Contextual Support And Would
                      Impede Congress’s Clear Objectives

       Contrary to the ordinary meaning of “need-blind,” Plaintiffs insist that “need-blind”

admissions policies cannot consider any aspect of an applicant’s financial circumstances.

Specifically, Plaintiffs allege that some Defendants are not “need-blind” because they purportedly

give admissions preferences to some applicants who are related to potential donors. See, e.g., Am.

Compl. ¶ 165. But “no speaker in natural parlance” uses “need-blind” in the way Plaintiffs

contend. Bond, 572 U.S. at 861. It would be quite strange to use a narrow phrase that refers only

to the need for financial aid to impose a sweeping ban on considering applicants’ entire economic


                                              -12-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 23 of 54 PageID #:613




background for any reason at all. Congress’s intent to define the term “need-blind” in a manner

contrary to its ordinary meaning must therefore be “utterly clear” after considering both “the

context from which the statute arose” and the consequences of Plaintiffs’ “sweeping reading of the

statute.” Id. at 865-66. These considerations foreclose Plaintiffs’ reading here.

       The legislative history does not support a complete prohibition on consideration of any

financial circumstances for any reason. Plaintiffs cite a committee report explaining that students

should not “be denied” admission “because of the financial situation of his or her family” and a

sponsor statement that need-blind schools should admit students “based on their ability to do the

work.” Am. Compl. ¶¶ 190-91. Plaintiffs ignore these statements’ simplest and most obvious

reading: These legislators intended that capable applicants should not be disfavored because they

need financial aid. Plaintiffs would not have to resort to such strained inferences if Congress

intended to condition Section 568’s protection on a radical, wholesale ban on consideration of any

financial circumstances for any reason. Someone would have said so. But no one ever did.

       Importantly, requiring “need-blind” schools to ignore all financial circumstances for any

reason would “frustrate the overall purpose of the statutory scheme, lead to absurd results, [and]

contravene clearly expressed legislative intent.” Jefferson v. United States, 546 F.3d 477, 483 (7th

Cir. 2008). It would greatly hinder schools’ ability to understand and holistically evaluate each

individual applicant. It would also prohibit participating schools from recognizing the comparative

strength of applicants who overcome less privileged backgrounds to achieve academic success,

flatly contrary to Congress’s intent to “enhanc[e] access by needy students.” H.R. Conf. Rep. No.

103-761, at 912. And it would inhibit schools’ efforts to shape economically diverse classes for

the benefit of the entire student body. Cf. Grutter v. Bollinger, 539 U.S. 306, 328 (2003) (affirming

the “compelling interest in attaining a diverse student body”). Plaintiffs’ position would force



                                                -13-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 24 of 54 PageID #:614




schools to choose between receiving the protections of Section 568 and recognizing the unique

potential of applicants from less financially fortunate families.

       The Court should reject Plaintiffs’ perverse interpretation and give the term “need-blind”

its ordinary meaning. Schools that do not disfavor applicants based on their need for financial aid

are “need-blind,” and their admissions decisions are made “without regard” to the relevant

“financial circumstances.” 15 U.S.C. § 1 note. Consideration of applicants’ economic background

for reasons unrelated to their need for financial aid, including purported consideration of

applicants’ relationship to potential donors, is irrelevant under Section 568.

               3.      Plaintiffs’ Allegations As To Purported Donor Preferences At Duke,
                       Brown, MIT, And Georgetown Are Insufficient To Deprive These
                       Schools Of Section 568’s Protections

       Although giving preferences to relatives of potential donors would be consistent with the

statutory plain meaning of “need-blind,” Plaintiffs also fail to adequately allege facts supporting

their assertion that Duke, Brown, MIT, or Georgetown actually preferred any applicants because

of their relationship with a potential donor within the relevant time period. Thus, even on

Plaintiffs’ overbroad reading, Plaintiffs have failed to meet their burden to allege facts plausibly

demonstrating that these Defendants are not entitled to the protections of Section 568.

       As to Duke, Plaintiffs cherry-pick a handful of quotes from 2006 publications, see Am.

Compl. ¶¶ 172-73, and even highlight research from the “late 1990s,” Golden, T HE PRICE OF

ADMISSION 57 (2006) (referenced in Am. Compl. ¶ 172 & n.70). These allegations far predate the

2018-2021 admission cycles—the only relevant cycles under the four-year statute of limitations.

See infra Pt. IV. Such outdated information is inadequate to plausibly support the allegation that

Duke was not need-blind during the limitations period. See Freeman v. City of Crown Point, 2014

WL 545511, at *11 (N.D. Ind. Feb. 11, 2014) (news articles from 1997 and 2002 were “too remote

in time” to “demonstrate the plausibility” of allegations about 2013 conduct); Yousef v. Cty. of
                                                -14-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 25 of 54 PageID #:615




Westchester, 2020 WL 2037177, at *12 (S.D.N.Y. Apr. 28, 2020) (“The DOJ Report is from 2009,

which is too far removed in time for an inference that conditions were the same in 2017.”).

       Plaintiffs’ allegations against Brown and MIT are infirm for similar reasons. The only

substantive allegations against Brown in the complaint rely on statements about recruitment from

a professor who Plaintiffs concede left in 2008, Am. Compl. ¶ 168, and sarcastic speculation from

a 2015 opinion piece in a student newspaper about a student recruited by a different school, id.

¶ 171 (referencing Simon, Simon ’16: Pimp My University, BROWN DAILY HERALD (Oct. 21,

2015)). Moreover, the first allegation far predates the limitations period while the latter post-dates

Brown’s 2012 withdrawal from the 568 Group. See Am. Compl. ¶ 194 n.83. As to MIT, Plaintiffs

rely only on statements of a former admissions counselor who left MIT around 2012. See id. ¶ 177

(referencing Crowley, Confessions of a Former MIT Admissions Director, BOSTON GLOBE (Mar.

13, 2019), which says the author worked at MIT for “nearly a dozen” years after graduating around

2000). And those statements, made while he worked as an independent admissions counselor, id.,

do not relate to any specific practices at MIT; at most, they relate to college admissions generically.

       As to Georgetown, Plaintiffs rely on 2007 and 2015 interviews in which the Dean of

Admissions discussed legacy applicants and candidates with “development potential,” neither of

which constitutes admitting students based on their need for financial aid. Id. ¶¶ 174-76. As

Plaintiffs note, development is about “opportunities” more broadly, and “not all those special cases

end up being people who give a lot of money.” Id. ¶ 174.

       B.      Plaintiffs’ Other Allegations As To Purported Non-Need-Blind Practices Are
               Conclusory And Implausible

       Plaintiffs’ remaining allegations as to Section 568 consist of “labels and conclusions,”

Twombly, 550 U.S. at 555; stale, out-of-context quotes; and allegations that must be disregarded




                                                 -15-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 26 of 54 PageID #:616




because they are contradicted by the very sources on which they themselves rely, see Phillips v.

Prudential Ins. Co. of Am., 714 F.3d 1017, 1020 (7th Cir. 2013).

                1.     Plaintiffs’ Contrived Definition Of “Enrollment Management” Fails To
                       Plausibly Allege That Any Defendant Is Not Need-Blind

         Plaintiffs’ “enrollment management” allegations are inadequate.                 “Enrollment

management” refers broadly to any set of practices that help schools “shape their enrollments.”

Am. Compl. ¶ 154.11 Unsubstantiated speculation by third parties aside, see id. ¶¶ 157-58, the

complaint has no well-pleaded factual allegations that any Defendant manages its enrollment by

considering individual applicants’ financial circumstances to “limit the number of financial-aid-

eligible applicants who are admitted,” id. ¶ 155. Rather, the complaint only alleges enrollment

management practices that are perfectly consistent with Defendants’ commitment to need-blind

admissions decisions, such as broad recruitment strategies to encourage applications or post-

admission strategies to encourage admitted students to enroll. See id. ¶¶ 158-61.

         Where Plaintiffs purport to offer specifics, their own sources refute them. For example,

the “enrollment management model” at Notre Dame, id. ¶ 161, did not involve admissions

decisions at all, much less disadvantaging applicants because they need aid. It was instead an

effort “to recruit a more diverse pool of applicants,” placing “a high priority on low-income”

students.12 As to Columbia and Penn, Plaintiffs point to two essays authored by a consultant who

includes those universities (among many others) on his client list. Id. ¶ 156 & nn.47-48. Those

essays never mention Columbia or Penn.           Nor do they suggest that the term “enrollment



11
   Plaintiffs rely on Hossler, Origins of Strategic Enrollment Management, in HANDBOOK OF STRATEGIC
ENROLLMENT MANAGEMENT 4 (Hossler & Bontrager eds., 2014), which lists, among other factors relevant
to enrollment management practices, the “[c]haracteristics of the institution and the world around it.”
12
   Cockrum & Weber, Notre Dame, SMC communities evaluate opportunities, efforts for low socioeconomic
students, THE OBSERVER (Apr. 30, 2018), https://ndsmcobserver.com/2018/04/efforts-low-socioeconomic-
students/ (cited in Am. Compl. ¶ 161 & n.57).
                                                 -16-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 27 of 54 PageID #:617




management” necessarily involves considering financial aid in admissions. To the contrary, the

essays focus on using financial aid to incentivize already admitted students to enroll.13

         As to Dartmouth, Plaintiffs allege only that a college official with the words “enrollment

management” (previously) in his title worked in the past at Tufts University, which is not a need-

blind institution. Id. ¶ 159. But Tufts is not a Defendant, has never been a member of the 568

Group, and its practices are irrelevant. Moreover, Dartmouth’s intent to use “newly available data

to identify and recruit prospective students” to apply to the College, id., is fully consistent with a

need-blind admissions policy. As to Northwestern, Plaintiffs allege only that it “has employed

enrollment management” to shape its classes “through recruitment, aid, early admission, waiting

lists and other variables.” Id. ¶ 160. Once again, Plaintiffs nowhere allege these practices include

making individual admissions decisions that disfavor applicants because they need financial aid.

                2.      Plaintiffs Fail To Plausibly Allege That Any Defendant Is Not Need-
                        Blind As To Transfer Or Waitlisted Applicants

         Plaintiffs allege no specific facts suggesting that any Defendant considers the financial

need of transfer applicants in making admissions decisions, see Am. Compl. ¶¶ 144-45, and only

attempt to make factual allegations as to Penn’s and Vanderbilt’s waitlist practices, id. ¶¶ 138-42.

Even assuming that non-standard admissions decisions must be need-blind under Section 568,

Plaintiffs’ few specific allegations are implausible, and the remaining conclusory allegations do

not “raise a right to relief above the speculative level.” Twombly, 550 U.S. at 545.




13
  See Brooks, Econometric Modeling of Enrollment Behavior, 26 J. STUDENT FIN. AID 7 (1996) (the “paper
describes using econometric modeling techniques to analyze the enrollment behavior of admitted
students”); Brooks, Using Campus-Based Financial Aid Strategically, in HANDBOOK OF STRATEGIC
ENROLLMENT MANAGEMENT 222-23, 225-26 (discussing econometric modeling to calculate “the
independent effect on yield of each student characteristic,” and “the effect on matriculation probabilities
of changes in institutional aid,” and encouraging schools to “learn more about the enrollment behavior of
the admitted applicants”) (emphases added).
                                                   -17-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 28 of 54 PageID #:618




         All of Plaintiffs’ allegations as to admission of transfer students, and almost all of their

allegations as to admissions from the waitlist, are based solely “on information and belief,” with

no facts alleged to indicate why this supposed belief is plausible. See Am. Compl. ¶¶ 138, 144.

“If [a plaintiff] has a legitimate reason to suspect” wrongdoing, then he “surely possesses

information of some kind that triggered [that] suspicion” and must present it in the complaint.

Heard v. Becton, Dickinson & Co., 440 F. Supp. 3d 960, 969 (N.D. Ill. 2020). A complaint does

not state a claim where the plaintiffs are “merely guessing” about key issues. Mabry v. City of E.

Chi., 2021 WL 1123808, at *6 (N.D. Ind. Mar. 24, 2021).

         Plaintiffs’ allegations as to Penn’s waitlist practices are too little, too late. Plaintiffs cite a

2009 list of tips for students hoping to be admitted from a generic waitlist. Am. Compl. ¶ 139.

Karen Crowley, a “consultant for … a national education-consulting firm, and former admissions

officer at the University of Pennsylvania,” provided one such tip, suggesting that it “never hurts to

remind schools … you will be a full-paying student, especially this year” because the “rules even

change at need-blind schools when it comes to the waitlist,” and admissions officers “know

endowments are down and cost-cutting is essential.” 14 Nothing in this quote suggests Penn was

ever not need-blind, that Crowley was even talking about Penn, or that she learned about this

purported practice from her time at Penn. And this discussion of the Great Recession is from long

before the four-year period at issue here. See infra Pt. IV. Plaintiffs also rely on an opinion piece

by Sara Harberson, purportedly discussing Penn’s admissions practices from “[w]hen [she]

worked … at Penn.” Am. Compl. ¶ 140. Harberson stopped working at Penn in June 2008. 15 Her




14
    Kingsbury, Dirty Secrets of College Waitlists, THE DAILY BEAST (July 14, 2017, 11:43AM),
https://www.thedailybeast.com/dirty-secrets-of-college-waitlists (cited in Am. Compl. ¶ 139).
15
   See https://www.linkedin.com/in/saraharberson; FIMCO, Inc. v. Funk, 748 F. App’x 716, 718 n.2 (8th
Cir. 2019) (taking judicial notice of a party’s employment on his publicly available LinkedIn page).
                                                    -18-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 29 of 54 PageID #:619




conclusory statements do not plausibly reflect Penn’s policies since January 2018, and in any event

are not “facts” creditable under Twombly.

         Plaintiffs’ allegations as to Vanderbilt fare no better. Plaintiffs cite only statements on its

website in 2013, 2014, and 2018, to the effect that it “reserve[s] the right to be need aware when

admitting students from the wait list.” Am. Compl. ¶¶ 141-42. These reservations of rights, two

of which are outside the limitations period, are insufficient to plausibly plead that Vanderbilt

disadvantaged any individual waitlisted student based on her need for financial aid. See id. ¶ 142

(conceding that Vanderbilt has never “stated” that it “in fact … has made need-aware decisions”). 16

                 3.      Plaintiffs Fail To Plausibly Allege That Admissions To Columbia’s
                         School of General Studies Are Not Need-Blind

         Plaintiffs’ only basis for alleging that Columbia is not need-blind as to its School of General

Studies is a student journalist’s unsupported assertion in a student newspaper. Am. Compl. ¶ 149

& n.41.17 Contrary to Plaintiffs’ allegation, Columbia did not “concede[]” in this article that those

admissions are not need-blind. Id. ¶ 149. The student author simply asserted as much, citing no

source at all.18 This single unsupported and conclusory statement by a student in a newspaper does

not render Plaintiffs’ allegation plausible. Cf. In re McKesson HBOC, Inc. Sec. Litig., 126 F. Supp.



16
   Although Plaintiffs’ insufficient allegations decide the issue, Plaintiffs also are wrong that the statutory
exemption speaks to the issue of need-blindness in the context of waitlist admissions. The Section 568
exemption arose out of the settlement with MIT in the Overlap case, which did not squarely concern waitlist
admissions. The MIT settlement expressly did not require that MIT be “need blind” regarding the waitlist.
See MIT Standards of Conduct ¶ 1(a). Congress “modeled” Section 568 on the MIT settlement to
“codif[y]” that settlement. See H.R. Rep. No. 114-224, at 2; 147 Cong. Rec. H1360, H1361 (daily ed. Apr.
3, 2001) (Statement of Rep. Smith). And Congress has reauthorized Section 568 repeatedly and without
material alteration, notwithstanding the above-noted public statements Plaintiffs say evince non-compliant
approaches to waitlist applicants.
17
   The School of General Studies (SGS), the only Columbia school named in the complaint, caters to
nontraditional students, and is distinct from other undergraduate schools. See, e.g., https://gs.columbia.edu/
columbia/schools. SGS does not participate in the 568 Group or employ the Consensus Methodology.
18
   The archived version of this news article, showing the student author’s unsupported statement, is
available at https://web.archive.org/web/20201109031622/https://www.columbiaspectator.com/news/
2017/11/14/public-health-professor-lisa-rosen-metsch-appointed-dean-of-general-studies/.
                                                     -19-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 30 of 54 PageID #:620




2d 1248, 1272 (N.D. Cal. 2000) (“newspaper articles should be credited only to the extent that

other factual allegations would be” and “[c]onclusory allegations of wrongdoing are no more

sufficient if they come from a newspaper article than from plaintiff’s counsel”). In fact, the

newspaper has since issued a correction to this unsubstantiated misstatement. 19

         In summary, Plaintiffs allege no facts at all as to the admissions practices of Caltech,

Chicago, Cornell, Emory, Johns Hopkins, Rice, or Yale. The only facts alleged as to Brown, Duke,

Georgetown, and MIT are that they favor applications from students related to potential donors,

which is legally irrelevant, and those allegations are based on untimely material. Plaintiffs’

“enrollment management” allegations baselessly presume that the practice necessarily entails

consideration of need for financial aid in admissions decisions.               Together with the legal

insufficiency of the donor-preference allegations, that means Plaintiffs fail to plausibly allege that

Dartmouth, Northwestern, or Notre Dame were not need-blind. Plaintiffs’ waitlist allegations

against Penn and Vanderbilt are stale and conclusory, and their allegation about Columbia’s

School of General Studies parrots an unsupported, since-corrected statement in a student

newspaper, which the Court should disregard. Accordingly, Plaintiffs have not plausibly alleged

that any Defendant is not need-blind, and they fail to state a claim.

         C.     The Section 568 Exemption Protects Need-Blind Schools That Lack Actual
                Knowledge That Any Other Participating School Is Not Need-Blind

         Plaintiffs’ claim should also be dismissed insofar as Plaintiffs incorrectly assert that every

Defendant loses the protection of Section 568 if just one acted on a non-need-blind basis. Am.

Compl. ¶ 8. Plaintiffs’ position would subject fully compliant schools to the risk of treble-damages


19
   The Lee, Public Health professor Lisa Rosen-Metsch appointed dean of General Studies, COLUMBIA
SPECTOR,         https://www.columbiaspectator.com/news/2017/11/14/public-health-professor-lisa-rosen-
metsch-appointed-dean-of-general-studies (Editor’s Note, Feb. 16, 2022, clarifying that “General Studies
does not offer full-need financial aid” and retracting prior statement that “admissions are not need-blind”)
(cited in Am. Compl. ¶ 149).
                                                   -20-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 31 of 54 PageID #:621




liability because of other schools’ alleged independent conduct. But Section 568 is not a trap for

the unwary. Rather, need-blind schools retain Section 568’s protection where, as here, they are

not plausibly alleged to have actual knowledge that other member schools are not need-blind. Even

if Plaintiffs have plausibly alleged that some Defendants were not need-blind during the relevant

period (they have not), the Court should dismiss Plaintiffs’ claims against every other Defendant.

       First, Section 568 must be read together with the “antitrust laws” to which it is appended

as a note. “[T]o show an antitrust conspiracy,” Plaintiffs must plead that each Defendant “had a

conscious commitment to a common scheme designed to achieve an unlawful objective.” Marion

Healthcare, LLC v. Becton, Dickinson & Co., 952 F.3d 832, 841 (7th Cir. 2020). When a 568

Group member is need-blind as to its own admissions and lacks actual knowledge that any other

member is not, its only conscious commitment is to enter an agreement that is expressly “not …

unlawful under the antitrust laws.” 15 U.S.C. § 1 note; see also In re Brand Name Prescription

Drugs Antitrust Litig., 1999 WL 33889, at *15 (N.D. Ill. Jan. 19, 1999) (“There is no such thing

as an ‘unwitting conspirator.’”), aff’d in relevant part, 186 F.3d 781 (7th Cir. 1999).

       Second, courts should construe laws to “allow[] them to accomplish their manifest objects”

rather than “deny effect to the regulatory scheme.” Abramski, 573 U.S. at 183. For example,

agreements between labor unions and non-union entities only lose the protection of the statutory

labor exemption when all parties share a “concerted anticompetitive purpose.” See Mid-Am. Reg’l

Bargaining Ass’n, 675 F.2d at 889. As the Seventh Circuit explained, “[a] rule of law requiring a

lower level of intent than purpose would open the way to disastrous incursions upon

Congressionally-sanctified … activity.” Id. at 889 n.21. So too here. Plaintiffs’ draconian reading

would inevitably deter need-blind schools from the collaboration that Congress sought to promote.

Maintaining the exemption would require scrupulously monitoring the admissions practices of



                                                -21-
      Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 32 of 54 PageID #:622




every other member. Cf. Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 907-08 (9th Cir.

2008) (rejecting an antitrust safe-harbor standard that would require a company to “fret over and

predict or determine its rivals’ cost structure”). Such continuous, intrusive oversight would be

practically impossible and could itself expose schools to the threat of antitrust suit. Congress did

not enact an exemption that no rational school would ever use.

          Third, laws should be construed to avoid strict liability—here, strict and vicarious liability

as to loss of the exemption—unless Congress clearly provides otherwise. See, e.g., Boim v. Holy

Land Found. for Relief & Dev., 549 F.3d 685, 692 (7th Cir. 2008) (en banc) (assuming a statute

“require[s] proof of intentional misconduct” because of “automatic trebling of damages”); Gordon

v. Softech Int’l, Inc., 726 F.3d 42, 50 (2d Cir. 2013) (refusing “to write strict liability into [a statute]

absent a clear indication in the text or the legislative history”). Congress provided no such

indication in Section 568. This Court should reject Plaintiffs’ attempt to subvert the practical

availability of Section 568 and dismiss claims against schools that adhered to its requirements.

II.       Plaintiffs Have Not Plausibly Alleged An Antitrust Violation

          Even if Section 568 did not exempt the challenged collaboration, the complaint must be

dismissed because Plaintiffs have failed to state a claim for violation of Section 1 of the Sherman

Act. Plaintiffs have not plausibly alleged that the Consensus Methodology is so obviously

anticompetitive that the Court can condemn it as per se unlawful. Nor have Plaintiffs plausibly

alleged facts showing that the Consensus Methodology is an “unreasonable restraint of trade”

under the rule of reason. Deppe v. Nat’l Collegiate Athletic Ass’n, 893 F.3d 498, 501 (7th Cir.

2018). Plaintiffs’ contrived market definition, which relies on just some parts of a magazine

ranking, is implausibly narrow, artificially magnifying Defendants’ alleged market power by

excluding numerous obvious competitors. Accordingly, the complaint fails to state a claim.



                                                   -22-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 33 of 54 PageID #:623




       A.      Plaintiffs Have Not Alleged A Plausible Per Se Violation

       Plaintiffs assert that the Consensus Methodology must be condemned as per se illegal. See

Am. Compl ¶ 240. That is manifestly wrong. When assessing an alleged agreement’s effect on

competition, courts “presumptively appl[y] rule of reason analysis, under which antitrust plaintiffs

must demonstrate that a particular contract or combination is in fact unreasonable and

anticompetitive before it will be found unlawful.” Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006).

“The per se rule is designed for cases in which experience has convinced the judiciary that a

particular type of business practice has no (or trivial) redeeming benefits ever.” In re Sulfuric Acid

Antitrust Litig., 703 F.3d 1004, 1011-12 (7th Cir. 2012). Full rule-of-reason analysis is required

when effects on competition are unclear or there are plausible procompetitive benefits. See id.

       Plaintiffs fail to plead facts making per se treatment plausibly appropriate. Congress has

approved of arrangements like the Consensus Methodology, and the Third Circuit has held that

full rule-of-reason analysis was required for the Overlap agreement, which involved explicit

agreement on individual net prices. That alone precludes per se review. Moreover, the Consensus

Methodology plausibly lowers many expected contributions, preserves competition over financial

aid, and has obvious potential procompetitive benefits. Per se treatment is improper as a matter

of law, and Plaintiffs must plausibly plead facts sufficient to satisfy full rule-of-reason analysis.

               1.      Congress And The Third Circuit Have Found That Similar Conduct Is
                       Not Obviously Anticompetitive

       The Supreme Court has held that per se treatment is inappropriate where Congress has

recognized the procompetitive benefits of the challenged conduct. “In these circumstances, we

have a unique indicator that the challenged practice may have redeeming competitive virtues and

that the search for those values is not almost sure to be in vain.” Broadcast Music, Inc. v. Columbia

Broad. Sys., Inc., 441 U.S. 1, 13 (1979). That is the case even when the relevant statutes “are not


                                                 -23-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 34 of 54 PageID #:624




directly controlling,” but “do reflect an opinion” that the challenged conduct is “economically

beneficial in at least some circumstances.” Id. at 16.

         Congress has authorized the type of collaboration challenged here, finding that it “leads to

a fairer distribution of need-based aid.” H.R. Rep. No. 105-144, at 3. Indeed, Congress has gone

out of its way to consider the competitive effects of agreements under Section 568, both by

including sunset provisions so it can periodically consider anew whether the statute still serves

“the generally pro-competitive goal of enhancing access by needy students to higher education,”

H.R. Conf. Rep. No. 103-761, at 912, and also by instructing the GAO to investigate the

competitive effects of those agreements. Congress has extended Section 568 four times, twice

with the benefit of the GAO’s conclusion that “the antitrust exemption did not adversely impact

the affordability of colleges and universities.” H.R. Rep. No. 114-224, at 3. 20

         Judicial experience also confirms that per se treatment is inappropriate as a matter of law.

“A particular course of conduct will not be termed a per se violation of the Sherman Antitrust Act

until the courts have had considerable experience with that type of conduct and application of the

rule of reason has inevitably resulted in a finding of anticompetitive effects.” Bunker Ramo Corp.

v. United Bus. Forms, Inc., 713 F.2d 1272, 1284 (7th Cir. 1983). As the Third Circuit squarely

held in Brown, the Overlap agreement had plausible procompetitive benefits and was subject to

the rule of reason, even though it prohibited merit-based aid, ensured that disparities between

individual financial aid awards did not exceed $500, and involved “retaliatory sanctions” such that

“noncompliance was rare and quickly remedied.” Brown, 5 F.3d at 662-63, 675.




20
   That Congress limited the categorical antitrust exemption in Section 568 to need-blind schools is
irrelevant on this point. Section 1 is concerned with whether these methodologies for calculating student
contributions have unreasonable anticompetitive effects—that does not depend in any way on the entirely
unrelated issue of whether or not the schools’ admissions policies are need-blind.
                                                  -24-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 35 of 54 PageID #:625




       The case against per se treatment here is even stronger. Plaintiffs do not allege that any

Defendants ever agreed on any student’s expected contribution or aid award. The Consensus

Methodology does not even address “what combination of grants, loans, or work-study a student

would receive,” GAO Report at 12, or whether to award merit-based aid. Nor do Plaintiffs allege

an enforcement mechanism—just a certificate of compliance that each participating school is

“comply[ing] with the rules of Section 568 regarding ‘need-blind admission practices.’” Am.

Compl. ¶¶ 121, 209. In fact, Plaintiffs concede that many schools never joined the 568 Group and

others freely left. See id. ¶¶ 102, 124-25, 194 n.83. The GAO also found that many members of

the 568 Group adopted only some of the Consensus Methodology’s recommendations, GAO

Report at 14, and Congress has recognized that it “is not binding” and that schools in the 568

Group “offer different, and competitive, financial aid packages,” H.R. Rep. No. 114-224, at 3.

       The MIT Standards of Conduct, which predated Section 568, prohibited many aspects of

the Overlap agreement that are not present here, including agreements as to individual

contributions and the “mix of grants and self-help to be awarded [to] individual aid applicants.”

MIT Standards of Conduct §§ 8-9. But the Department of Justice created a safe harbor for schools

to “jointly discuss and agree on principles of need analysis,” id. § 3, as Plaintiffs allege Defendants

have done here. Per se treatment is thus even less appropriate in this case than in Brown, which,

again, held that rule-of-reason treatment was warranted. The views of Congress and the Third

Circuit suffice by themselves to establish that per se treatment is inappropriate as a matter of law.

               2.      The Consensus Methodology Does Not Have Obvious Anticompetitive
                       Effects Justifying Per Se Condemnation

       In any event, Plaintiffs have not plausibly alleged that the Consensus Methodology so

obviously results in higher prices that the Court need not examine its real-world effects. Pooling

institutional expertise to develop a set of optional best practices plausibly results in lower expected


                                                 -25-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 36 of 54 PageID #:626




contributions for many students, which per se analysis would ignore. The 568 Group can identify

errors or gaps in other methodologies that lead other schools to find that many students should

contribute more than they can afford. Fixing those problems leads to lower expected contributions

under the Consensus Methodology. Indeed, the GAO found that many of the Group’s additions

or changes to the Institutional Methodology did just that. See GAO Report at 12-13.

         Plaintiffs do not allege that the Consensus Methodology recommends higher contributions

than the Institutional or Federal Methodologies—not even in the aggregate, much less in every

instance. Nor do they allege an agreement to engage in coordinated price increases. 21 Rather,

Plaintiffs ask the Court blankly to infer from the Consensus Methodology’s mere existence that it

must be anticompetitive. See, e.g., Am. Compl. ¶ 128. But as the Third Circuit correctly

recognized, that assumption does not hold in the context of non-profit universities that provide

financial aid. See Brown, 5 F.3d at 672 (that MIT “deviates … from the profit-maximizing

prototype … prompts us to give careful scrutiny to the nature of Overlap, and to refrain from

declaring Overlap per se unreasonable”). The Supreme Court favorably described Brown as

“finding full rule-of-reason analysis required where universities sought to provide financial aid to

needy students” and the challenged agreements did not “embod[y] a strong economic self-interest

of the parties to them.” Cal. Dental Ass’n v. FTC, 526 U.S. 756, 770-71 (1999).

         Moreover, as alleged, the Consensus Methodology leaves ample room for competition.

Plaintiffs never allege that schools in the 568 Group are required to adopt every recommendation

from the Consensus Methodology or cannot adjust their own institutional models to lower expected

contributions. See GAO Report at 1 (describing variations in the methodology’s implementation).



21
  In fact, there is a wide range of average net cost of attendance among Defendants. See Best Value Schools,
U.S. NEWS & WORLD REP., https://www.usnews.com/best-colleges/rankings/national-universities/best-
value (ranging from under $20,000 to over $41,000).
                                                   -26-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 37 of 54 PageID #:627




And as to specific students, schools are free to further reduce the effective price by providing need-

based aid through grants rather than loans and by offering non-need-based merit awards.

          The large number of schools that are not in the 568 Group also calls into question any

alleged anticompetitive effect on price.        About half the schools that make up Plaintiffs’

(implausibly narrow) alleged relevant market are not members of the 568 Group. 22 Several other

colleges and universities that are members of the 568 Group are not in Plaintiffs’ proposed market,

and necessarily have many other competitors outside the Group. Plaintiffs allege no facts plausibly

explaining how the Consensus Methodology could obviously raise prices given the myriad

conceded competitors that are not alleged to have participated in the challenged collaboration.

          The challenged collaboration on a methodology for calculating need is thus much more

analogous to setting standards, establishing best practices, or sharing information than to any per

se antitrust violation. In fact, some of the challenged conduct is an information exchange. See,

e.g., Am. Compl. ¶ 7. Information-sharing is generally judged under the rule of reason because it

“does not invariably have anticompetitive effects” and “can in certain circumstances increase

economic efficiency and render markets more, rather than less, competitive.” United States v. U.S.

Gypsum Co., 438 U.S. 422, 441 n.16 (1978). Likewise, given the potential for “significant

procompetitive” benefits, standard-setting is typically evaluated under the rule of reason. Allied

Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 501 (1988). Leveraging non-profits’

expertise to better assess financial need “is more likely a praiseworthy effort at self-regulation than

a device for facilitating supracompetitive pricing.” Vogel v. Am. Soc’y of Appraisers, 744 F.2d

598, 603 (7th Cir. 1984). At a minimum, the complaint does not plausibly allege that this is so

obviously not the case that per se invalidity is justified.



22
     See 568 Group Member Institutions, https://www.568group.org/home/?q=node/24.
                                                 -27-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 38 of 54 PageID #:628




                3.       The Consensus Methodology Has Credible Procompetitive Benefits
                         That Per Se Condemnation Would Ignore

         Rule-of-reason analysis is also required because the challenged collaboration, on its face,

has procompetitive benefits. See FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 459 (1986) (rule-

of-reason analysis required unless there is “[n]o credible argument” the conduct “has any …

procompetitive effect”). Further, “even price fixing”—which Plaintiffs fail to allege here—is

“governed by the rule of reason, rather than being per se illegal,” if it could be “believed to promote

‘enterprise and productivity.’” In re Sulfuric Acid, 703 F.3d at 1010-11. Given the Consensus

Methodology’s commonsense procompetitive benefits, the Court should reject Plaintiffs’

invitation to “shut[] off the information flow before it begins, by prematurely adopting a rule of

blanket illegality.” Vogel, 744 F.2d at 604.

         As the Third Circuit has recognized, collaboration that makes a broader range of higher

education options more readily available is procompetitive. See Brown, 5 F.3d at 677. As

discussed above, the Consensus Methodology plausibly results in lower expected contributions for

at least some students, which could lead to lower effective prices depending on how grant aid is

distributed. Even if the Consensus Methodology might theoretically result in higher contributions

for some other students, the additional contributions should not foreclose those students’ access to

the school and can in turn “increas[e] the financial aid available to needy students,” further

expanding the pool of students who can access an education at a high-quality university. Id. at

674-75. Plaintiffs must plead plausible anticompetitive effects in the “market as a whole,” not just

an artificial subset. Ohio v. Am. Express Co., 138 S. Ct. 2274, 2287 (2018).23


23
  Plaintiffs allege that schools could reallocate their existing resources to provide need-based aid. See Am.
Compl. ¶¶ 255-57. But deciding whether “the plaintiff [can] demonstrate that the procompetitive
efficiencies could be reasonably achieved through less anticompetitive means” is the final step of full rule-
of-reason analysis. Am. Express Co., 138 S. Ct. at 2284. That complex issue is not even reached under the
rule of reason absent a plausible relevant market. Id.
                                                    -28-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 39 of 54 PageID #:629




        By making higher education more accessible, the Consensus Methodology plausibly

improves both the quality and the range of the educational opportunities offered to prospective

students. See Brown, 5 F.3d at 674 (highlighting the Overlap agreement’s potential to “promot[e]

socio-economic diversity”). Accurately determining financial need and efficiently directing aid

helps schools maximize the benefits of a rigorous education at a socioeconomically diverse

institution.   The Consensus Methodology plausibly facilitates those determinations, and so

facilitates their procompetitive benefits. Per se treatment would impermissibly ignore them.

        B.      The Amended Complaint Fails To State A Claim Under The Rule Of Reason
                Because Plaintiffs Have Not Pleaded A Plausible Relevant Market

        Because Plaintiffs fail to allege a per se antitrust violation, the only way they can proceed

under the Sherman Act is to state a claim under the rule of reason. See, e.g., In re Humira

(Adalimumab) Antitrust Litig., 465 F. Supp. 3d 811, 836-42 (N.D. Ill. 2020). That requires

plausibly alleging either direct, measurable anticompetitive effects and the “rough contours of a

relevant market,” Republic Tobacco Co. v. N. Atl. Trading Co., 381 F.3d 717, 737 (7th Cir. 2004),

or facts to support (1) a plausible definition of the relevant product market, (2) the defendants’

market power, and (3) likely anticompetitive effects from the restraint within that market, see

Deppe, 893 F.3d at 501; Reapers Hockey Ass’n, Inc. v. Amateur Hockey Ass’n Ill., Inc., 412 F.

Supp. 3d 941, 952 (N.D. Ill. 2019). Plaintiffs have not attempted to plead direct anticompetitive

effects under the rule of reason. See Am. Compl. ¶¶ 240-41. Nor could they, particularly given

the complaint’s failure to plausibly allege an agreement to actually use the Consensus

Methodology. See GAO Report at 1; cf. 1-800 Contacts, Inc. v. FTC, 1 F.4th 102, 118 (2d Cir.

2021) (“theoretical and anecdotal” evidence insufficient to show direct anticompetitive effect).

Nor have they identified even the general contours of a plausible market in which Defendants have

sufficient power to harm competition.


                                                -29-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 40 of 54 PageID #:630




         Without a plausible relevant market, “there is no way to measure” whether Defendants

have sufficient power to harm competition or that competition was harmed. Am. Express Co., 138

S. Ct. at 2285. Product markets consist of products that compete because they are “reasonably

interchangeable.” United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 395 (1956). If

a plaintiff “alleges a proposed relevant market that clearly does not encompass all interchangeable

substitute products even when all factual inferences are granted in plaintiff’s favor, the relevant

market is legally insufficient and a motion to dismiss may be granted.” Queen City Pizza, Inc. v.

Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d Cir. 1997); see also Sharif Pharmacy, Inc. v. Prime

Therapeutics, LLC, 950 F.3d 911, 917-18 (7th Cir. 2020) (dismissing complaint on this basis);

Nucap Indus., Inc. v. Robert Bosch LLC, 273 F. Supp. 3d 986, 1012 (N.D. Ill. 2017) (same).

         Plaintiffs fail to allege a plausible market here. Their proposed market consists of “private

national universities with an average ranking of 25 or higher in the U.S. News & World Report

(“USNWR”) rankings from 2003 through 2021.” Am. Compl. ¶ 241. 24 This “market” relies not

on economic analysis but on a single magazine’s rankings. Plaintiffs do not even incorporate other

publications’ rankings, such as Forbes or the Wall Street Journal. 25 Worse, Plaintiffs cherry-pick

from that single source, excluding public universities, which USNWR ranks together with private

universities, and all schools with an even slightly lower average ranking, for no reason whatsoever.

And Plaintiffs collapse nearly twenty years of rankings into a single artificial number that ignores

any shifts over that lengthy period. Such a lazily defined market is facially implausible.




24
   The current USNWR national university rankings are available at https://www.usnews.com/best-
colleges/rankings/national-universities (“USNWR Rankings Website”), and the method for how USNWR
calculated those and other rankings is available at https://www.usnews.com/education/best-
colleges/articles/how-us-news-calculated-the-rankings (“USNWR Calculation Website”).
25
    See https://www.forbes.com/top-colleges/; https://www.wsj.com/articles/college-rankings-list-2022-
11632246093 (each ranking public and private universities together with liberal arts colleges).
                                                 -30-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 41 of 54 PageID #:631




         This proposed market crumbles under even the lightest scrutiny. Thousands of colleges

and universities compete for students across many different dimensions, including selectivity and

prestige, post-graduation opportunities, breadth and depth of academic specializations, facilities,

extracurricular activities, location, culture, student body and faculty diversity, and graduation

requirements. Prospective students have a wide range of differently weighted preferences as to

each variable. Plaintiffs arbitrarily focus on just a few of the many variables that affect applicants’

decisions, rely on others that are relatively unimportant, and exclude many obvious competitors.

         Most egregiously, Plaintiffs exclude liberal arts colleges and public universities. The exact

same factors that led USNWR to rank the schools in Plaintiffs’ proposed market so highly also led

it to highly rank numerous liberal arts colleges and public universities. See USNWR Calculation

Website (displaying identical “weight” of identical “ranking factor[s]” for “national universities

and liberal arts colleges”); USNWR Rankings Website (ranking public and private universities

together). Plaintiffs cannot simply pick and choose those aspects of the rankings they wish. And

while each school is unique, these rankings show that selective liberal arts colleges, public

universities, and private universities all provide rigorous educational experiences, prestigious

degrees and faculties, and plentiful post-graduate opportunities. It is not plausible that these highly

regarded schools do not compete with Defendants for student enrollment.

         Indeed, the admissions websites of the schools in Plaintiffs’ proposed market advertise the

“liberal arts” educations they offer.26 Plaintiffs note that liberal arts colleges generally have “a

smaller student body, smaller and less competitive athletic programs, fewer graduate programs, …



26
   For example, at Dartmouth, the “liberal arts imperative informs every field of study.” https://home.
dartmouth.edu/. Yale College “offers a liberal arts education.” https://yalecollege.yale.edu/academics.
“Every Duke undergraduate student takes classes in Trinity College—it serves as Duke’s liberal arts core.”
https://admissions.duke.edu/academic-possibilities/. And Princeton “provide[s] a liberal arts education to
all of [its] undergraduates.” https://admission.princeton.edu/academics/what-does-liberal-arts-mean.
                                                  -31-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 42 of 54 PageID #:632




less emphasis on research,” and slightly higher admissions and lower yield rates. Am. Compl.

¶¶ 242, 245-46. But they suggest no reason why undergraduate applicants’ decisions would be

materially affected by graduate programs, research not conducted by undergraduate students, or

an average difference in admissions rates of just seven percentage points. As to size, there is far

greater variation within Plaintiffs’ purported market than between those schools and liberal arts

colleges.27 As to athletics, many schools in the proposed market play in the Ivy League and so do

not offer athletic scholarships, and several are in Division III, just like liberal arts colleges. 28

Others play against public universities, which Plaintiffs also exclude.          To the extent these

differences matter, they are just a few variables that might affect some students’ choices among

schools in the same market, rather than attributes that plausibly define separate markets.

         Demonstrating just how thin their theory is, Plaintiffs rely on a newspaper’s summary of a

2018 speech by the President of Northwestern, which reports that he referenced “remain[ing]

competitive against top COFHE universities.” Am. Compl. ¶ 251. COFHE, the Consortium on

Financing Higher Education, includes more than a dozen liberal arts colleges. 29 Plaintiffs allege

that the President “carefully distinguish[ed] between universities and colleges,” implying that

Northwestern does not compete with the latter. Id. But the complaint’s quoted language is from

the journalist. And the article uses “universities” to refer to all institutions of higher education, as

it also describes the President’s challenge to the “‘myth’ that implies universities must compromise




27
   Cornell and Penn, for example, had undergraduate enrollments of 14,743 and 9,872 in fall 2020, while
Dartmouth and Caltech had respective enrollments of 4,170, and 901. See UNSWR Rankings Website.
28
    See NCAA Directory, Division III Institutions, https://web3.ncaa.org/directory/memberList?
type=12&division=III (listing Caltech, Chicago, Emory, Johns Hopkins, and MIT).
29
   Those colleges are Amherst, Barnard, Bowdoin, Bryn Mawr, Carleton, Haverford, Macalester,
Middlebury, Mount Holyoke, Oberlin, Pomona, Smith, Swarthmore, Trinity, Vassar, Wellesley, and
Williams. See Consortium of Financing Higher Education, COFHE, https://web.mit.edu/cofhe/.
                                                 -32-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 43 of 54 PageID #:633




between achieving academic excellence and campus diversity.”30 Read in its entirety, this article

cuts against the plausibility of a market that excludes COFHE liberal arts colleges.

         Plaintiffs likewise cannot plausibly exclude public universities with “national rankings and

selectivity comparable to that of the elite, private universities.” Am. Compl. ¶ 247. Plaintiffs do

not allege that public universities’ educational programs are ineffective substitutes for those

offered by schools in Plaintiffs’ proposed market. 31 They simply allege that “[p]ublic, national

universities generally charge a high average net price to out-of-state students” because of “laws

and political pressures that private institutions do not face.” Id. ¶¶ 247, 249. Higher prices to out-

of-state students would only matter here if the effective prices were so radically different that price

increases at private universities would not push students to comparable public universities. See

Maui Jim, Inc. v. SmartBuy Guru Enters., 386 F. Supp. 3d 926, 945-46 (N.D. Ill. 2019) (relevant

product market is defined with reference to cross-elasticity of demand, meaning the extent to which

a price increase for one good results in consumers shifting to another). That is facially implausible.

         That one product’s sticker price is higher than another’s does not mean they are in separate

markets, as consumer preferences may shift at any number of price points. Cf. 42nd Parallel N. v.

E St. Denim Co., 286 F.3d 401, 405-06 (7th Cir. 2002). Even if an applicant’s second-choice

private university remains effectively cheaper with the benefit of higher grant aid, a price increase

at that private university could easily drive the student back to her first-choice public university.




30
   See Wan, Schapiro, administrators talk research efforts, campus inclusion at ‘Conversations with the
President’, The Daily Northwestern (Apr. 12, 2018), https://dailynorthwestern.com/2018/
04/12/campus/214612/ (emphasis added).
31
   Plaintiffs quote Duke’s 2001 University Plan, which highlights some distinctions between private and
public universities. Am. Compl. ¶ 248. More tellingly, it also notes that, while only some schools “are
nationally and internationally preeminent[,] … [t]here are institutions of this caliber among the great state
universities, and some of our liberal arts colleges are truly distinguished.” Building on Excellence: The
University Plan, DUKE UNIV. 5 (Feb. 23, 2001), https://dukespace.lib.duke.edu/dspace/bitstream/handle/
10161/65/UA2006_0037%20Strategic%20Plan.pdf?sequence=1&isAllowed=y.
                                                    -33-
     Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 44 of 54 PageID #:634




In any event, effective prices at public universities are often comparable to or lower than effective

prices at their private competitors. USNWR considers “graduate indebtedness” in creating its

rankings, see USNWR Calculations Website, and the public universities that Plaintiffs wish to

exclude because they offer less financial aid (and so are purportedly more expensive) are

intermingled with the schools in Plaintiffs’ proposed market. That is unsurprising. Private

universities may meet need with loans, which does not reduce the effective price. See Am. Compl.

¶ 5. Many students have access to a selective public university in their home state, where they

would receive financial aid. And even out-of-state tuition at public universities is often lower than

at private universities.32 Higher prices at an applicant’s first-choice private university thus might

easily push her to a less expensive or comparably priced second-choice public university.

         Discovery is unnecessary to know that a student who wants to stay near her family in North

Carolina might choose among Duke, UNC-Chapel Hill, Davidson, and Wake Forest, while a

student near Philadelphia might choose among Penn, Haverford, and Swarthmore. A student

looking for a prestigious school with a strong athletics culture might choose between Notre Dame

and Michigan. Students interested in writing across disciplines might pick among the top 12

schools in the USNWR’s ranking on that metric, which include Brown, Duke, Yale, Carleton,

Amherst, and Hamilton,33 while budding computer scientists might choose among Caltech, MIT,

Berkeley, and Georgia Tech.34 Other students might ignore these rankings entirely. It is not

plausible that the schools in Plaintiffs’ proposed market do not compete with many others,




32
   See, e.g., USNWR Rankings Website (out of state tuition at UCLA and UNC-Chapel Hill is $43,022 and
$36,776 while tuition at Columbia and Yale is $63,530 and $59,950).
33
   Writing in the Disciplines, https://www.usnews.com/best-colleges/rankings/writing-programs.
34
    Best Undergraduate Computer Science Programs Rankings, https://www.usnews.com/best-
colleges/rankings/computer-science-overall.
                                                -34-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 45 of 54 PageID #:635




particularly with the liberal arts colleges and public universities that USNWR also ranks highly.

This failure to plead a plausible relevant market is fatal to Plaintiffs’ rule-of-reason claim.

III.   Plaintiffs Fail To Plausibly Allege Antitrust Injury And Antitrust Standing

       Plaintiffs’ claim also fails because their allegations of antitrust injury and antitrust standing

are inadequate. See McGarry & McGarry, LLC v. Bankr. Mgmt. Sols., Inc., 937 F.3d 1056, 1064-

65 (7th Cir. 2019); In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig., 2013 WL 4506000,

at *9 (N.D. Ill. Aug. 23, 2013). Plaintiffs’ conclusory allegations that their net price of attendance

would have been lower but for the Consensus Methodology rely on a series of unsupported and

implausible inferences, rendering the causal connection between their alleged injuries and the

alleged anticompetitive conduct overly speculative as a matter of law.

       A private antitrust plaintiff must plausibly allege an antitrust injury, meaning that “its

injury flows from that which makes the defendants’ acts unlawful—that ‘but for’ the violation, the

injury would not have occurred.” Greater Rockford Energy & Tech. Corp. v. Shell Oil Co., 998

F.2d 391, 395 (7th Cir. 1993) (cleaned up). Dismissal is appropriate if the “complaint requires

drawing a conclusion that rests on too many inferences and reveals a theory of antitrust injury that

is speculative as a matter of law.” In re Humira, 465 F. Supp. 3d at 846.

       Plaintiffs have not plausibly alleged that they suffered an antitrust injury on the ground that

the effective prices they paid would be lower but for the Consensus Methodology. This failure is

glaring. It is speculative what methodology each Defendant would use absent the Consensus

Methodology, and doubly speculative whether that methodology would be better, worse, or the

same for any given student.       For example, the expected contribution calculated under the

Institutional Methodology will, for many students, be the same as under the Consensus

Methodology’s recommendations, or even higher. See GAO Report at 12-13 (listing modifications

to the Institutional Methodology). That is precisely why Congress established the exemption—
                                                 -35-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 46 of 54 PageID #:636




without the best practices it facilitated, some applicants would receive less aid “than their

demonstrated need or none at all” while others would receive more. H.R. Rep. No. 107-32, at 3.

The but-for world is thus one in which aid tracks need less accurately and many students are worse

off. Moreover, even lower expected contributions would not translate to a lower net price for all

students, as Plaintiffs allege no facts suggesting that lower expected contributions in the but-for

world would be met with additional grant aid rather than with additional loans that must be repaid.

       To allege an antitrust injury, Plaintiffs must allege facts plausibly suggesting that their

expected contributions were higher under the Consensus Methodology, rather than lower or

unaffected, and that they in turn received less grant aid. But they allege no meaningful facts about

their financial background, expected contributions, or aid awards, despite surely possessing such

information. And they allege no facts at all suggesting how their expected contribution would

have been calculated but for the Consensus Methodology, much less why it would have been

lower. They thus have not alleged facts suggesting they would have paid a lower net price if their

expected contribution were for some reason lower under the Consensus Methodology.

       Plaintiffs fail to meet the distinct requirement of antitrust standing for similar reasons. See,

e.g., Loeb Indus., Inc. v. Sumitomo Corp., 306 F.3d 469, 485 (7th Cir. 2002) (no antitrust standing

where “the exact nature of the damages [plaintiffs] have suffered is speculative”). Plaintiffs have

also provided no facts to suggest how a factfinder could begin to find an injury or calculate

damages. See Assoc. Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S.

519, 543-44 (1983) (finding no standing in part because of speculative and complex measures of

damages); Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1054 (9th Cir. 1999) (courts

consider “the complexity in apportioning damages” in antitrust standing inquiry).




                                                -36-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 47 of 54 PageID #:637




IV.    The Statute Of Limitations Bars The Claims Of Seven Of The Nine Plaintiffs

       Plaintiffs’ claims that accrued before January 9, 2018—four years before Plaintiffs filed

suit—are time-barred on their face. The antitrust statute of limitations runs for four years “after

the cause of action accrued.” 15 U.S.C. § 15b. Accrual occurs when “a defendant commits an act

that injures” a plaintiff. Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338 (1971).

Plaintiffs allege they were injured by “receiving artificially suppressed financial aid and paying

artificially inflated net prices of attendance.” Am. Compl. ¶ 235. But three Plaintiffs graduated

more than four years ago: Weaver in 2007, Henry in 2011, and Piyevsky in 2017. Id. ¶¶ 20, 23,

25. Three others—Carbone, Corzo, and Saffrin—graduated “in the spring of 2018.” Id. ¶¶ 17-18,

24. These Plaintiffs may have finished their final semesters or quarters within the limitations

period, but the complaint does not allege any overt act after January 9, 2018.

       Plaintiffs attempt to salvage these untimely claims by asserting that they could not have

discovered them “[u]ntil the last two years.” See id. ¶¶ 195-96. Plaintiffs never indicate what

happened two years ago, but it hardly matters. The Supreme Court held in Rotkiske v. Klemm, 140

S. Ct. 355, 360-61 (2019), that a discovery rule delaying accrual until the plaintiff knew or should

have known of his claim “cannot be supplied by the courts,” as it is “Congress’s decision to include

a … discovery provision.” And in Gabelli v. SEC, 568 U.S. 442, 448-49 (2013), the Court held

that “the most natural reading” of the statutory term “accrued” is that it means when a claim

“comes into existence,” not when it is “discovered.” This precedent abrogates the Seventh

Circuit’s prior holding that the Sherman Act’s statute of limitations is atextually qualified by a

default discovery rule. See In re Copper Antitrust Litig., 436 F.3d 782, 789 (7th Cir. 2006).

       In any event, “the discovery rule requires diligence.” In re Sulfuric Acid, 703 F.3d at 1014;

see also Tomlinson v. Goldman, Sachs & Co., 682 F. Supp. 2d 845, 847-48 (N.D. Ill. 2009)

(discovery rule did not apply when relevant information was in news reports). Plaintiffs cite five
                                               -37-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 48 of 54 PageID #:638




sources purportedly showing that the Consensus Methodology was anticompetitive per se, all of

which were publicly available well over four years ago. See Am. Compl. ¶¶ 114-15, 123-29, 240.

Their allegations regarding potential donors rely on a book from 2006; news articles from 2006,

2007, 2015, and 2017; a Wiki Leaks page from 2014; and blog posts from 2014 and 2016. Id.

¶¶ 149, 169-70, 172-76, 181-82. Their waitlist allegations rely on a 2009 news article and blog

posts from 2013 and 2014. Id. ¶¶ 139, 142. And their enrollment management allegations rely on

1996 and 2014 journals; articles from 1996, 2005, 2010, 2011, and 2014; and news alerts in 2015

and 2016. Id. ¶¶ 156-61. Plaintiffs who matriculated more than four years ago could have relied

on all this same information to sue well before January 9, 2018.

       Plaintiffs also do not sufficiently plead any claim of fraudulent concealment, much less

with the particularity required under Rule 9(b). See Nat’l Black Expo v. Clear Channel Broad.,

Inc., 2007 WL 495307, at *6 (N.D. Ill. Feb. 8, 2007). Fraudulent concealment requires that a

defendant acted affirmatively to conceal an offense and that the plaintiff “neither knew nor, in the

exercise of due diligence, could reasonably have known of the offense.” Klehr v. A.O. Smith Corp.,

521 U.S. 179, 194-95 (1997). Plaintiffs were not diligent, as their reliance on decade-old sources

proves. Moreover, their assertions about purported affirmative concealment effectively allege only

that Defendants deny (and did not disclose) any wrongdoing. See Am. Compl. ¶¶ 199-219. Such

denials of liability are not a basis for fraudulent concealment. Stephan v. Goldinger, 325 F.3d 874,

877 (7th Cir. 2003). Plaintiffs also fail to allege when (or even if) they discovered the purported

misrepresentations, “let alone that [they] relied … on them.” Id.

       Finally, the continuing violation doctrine does not save Plaintiffs’ untimely claims. That

doctrine permits recovery for new injuries caused by new overt acts within the limitations period;

“the commission of a separate new overt act generally does not permit the plaintiff to recover for



                                               -38-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 49 of 54 PageID #:639




the injury caused by old overt acts outside the limitations period.” Klehr, 521 U.S. at 189. There

could be no injury or overt act within the limitations period as to the six Plaintiffs who received

no financial aid award after January 9, 2018. Maerlender—who allegedly enrolled in 2015 and

graduated in 2019, Am. Compl. ¶ 22—is the only Plaintiff for whom this doctrine is even

potentially relevant. But his claim, if any, accrued when he matriculated. See id. ¶¶ 131, 234, 237

(attacking purported lack of price competition for students who have not yet chosen which school

to attend). Later awards are “‘unabated inertial consequences’ of a single act”—the initial financial

aid offer—that “do not restart the statute of limitations.” Varner v. Peterson Farms, 371 F.3d

1011, 1019 (8th Cir. 2004). Maerlander’s claim is thus also untimely and should be dismissed.

                                         CONCLUSION

       For the reasons above, the Court should grant Defendants’ motion to dismiss.




                                                -39-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 50 of 54 PageID #:640




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                                             -40-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 51 of 54 PageID #:641




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                                              -41-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 52 of 54 PageID #:642




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                                             -42-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 53 of 54 PageID #:643




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                                         -43-
  Case: 1:22-cv-00125 Document #: 147 Filed: 04/15/22 Page 54 of 54 PageID #:644




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